Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 1 of 19 PageID #: 702




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION




                                         §
   SYMBOLOGY INNOVATIONS, LLC            §   Civil Action No. 2:15-cv-1169-JRG-RSP
                                         §
                    Plaintiff,           §   (Consolidated)
                                         §
   vs.                                   §   JURY TRIAL DEMANDED
                                         §
   ADAMS EXTRACT,                        §   LEAD CASE
                                         §
                    Defendant.           §
                                         §
                                         §
   SYMBOLOGY INNOVATIONS, LLC            §   Civil Action No. 2:15-CV-1866-JRG-RSP
                                         §
                    Plaintiff,           §
                                         §
   vs.                                   §
                                         §
   J5CREATE,                             §
                                         §
                    Defendant.           §
                                         §



                 DEFENDANT J5CREATE’S MOTION TO DISMISS
            PLAINTIFF’S INFRINGEMENT CLAIMS UNDER RULE 12(b)(6)
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 2 of 19 PageID #: 703




                                                TABLE OF CONTENTS

  I.     INTRODUCTION .............................................................................................................. 1

  II.    SYMBOLOGY’S PATENTS RECITE SOFTWARE, NOT PACKAGING ..................... 2

         A.        The Specification Describes Software, Not Packaging .......................................... 2

         B.        The Claims Recite Software, Not Packaging .......................................................... 4

                   1.         Method Claims Recite Steps Performed on an Electronic Device ............. 4

                   2.         Computer-Readable Medium Claims Recite Software ............................... 6

                   3.         “Symbology Management Application” Claims Recite Software .............. 8

  III.   SYMBOLOGY FAILED TO ALLEGE SUFFICIENT FACTS SUPPORTING A
         CLAIM OF DIRECT INFRINGEMENT ......................................................................... 10

  IV.    SYMBOLOGY FAILED TO ALLEGE SUFFICIENT FACTS SUPPORTING A
         CLAIM OF CONTRIBUTORY INFRINGEMENT ........................................................ 12

  V.     SYMBOLOGY FAILED TO ALLEGE SUFFICIENT FACTS SUPPORTING A
         CLAIM OF INDUCED INFRINGEMENT...................................................................... 13

  VI.    CONCLUSION ................................................................................................................. 14




  Motion to Dismiss                                             - ii-
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 3 of 19 PageID #: 704




                                                    TABLE OF AUTHORITIES

  Cases                                                                                                                                  Page(s)

  Akamai Technologies, Inc. v. Limelight Networks, Inc.,
     797 F.3d 1020 (Fed. Cir. 2015) (en banc) .........................................................................11, 12

  Ashcroft v. Iqbal,
     556 U.S. 662 (2009) ...........................................................................................................12, 13

  Bell Atlantic Corp. v. Twombly,
      550 U.S. 544 (2007) .................................................................................................................12

  In re Bill of Lading Transmission and Processing System Patent Litigation,
      681 F.3d 1323 (Fed. Cir. 2012)..........................................................................................12, 13

  BMC Resources, Inc. v. Paymentech, L.P.,
    498 F.3d 1373 (Fed. Cir. 2007)................................................................................................10

  Core Wireless Licensing S.A.R.L. v. Apple Inc.,
     No. 6:14-CV-752-JRG-JDL, 2015 WL 4910427 (E.D. Tex. Aug. 14, 2015) ...................12, 13

  Global-Tech Appliances, Inc. v. SEB S.A.,
     131 S.Ct. 2060 (2011) ..............................................................................................................13

  IPXL Holdings, L.L.C. v. Amazon.com, Inc.,
     430 F.3d 1377 (Fed. Cir. 2005)..................................................................................................8

  Joy Technologies, Inc. v. Flakt, Inc.,
     6 F.3d 770 (Fed. Cir. 1993) .....................................................................................................10

  Lodsys, LLC v. Brother International Corporation,
     2012 WL 760729 (E.D. Tex. Mar. 8, 2012) ..............................................................................2

  McZeal v. Sprint Nextel Corporation,
    501 F.3d 1354 (Fed.Cir.2007)..................................................................................................10

  Superior Industries, LLC v. Thor Global Enterprises Ltd.,
     700 F.3d 1287 (Fed. Cir. 2012)..........................................................................................12, 13

  U.S. Ethernet Innovations, LLC v. Cirrus Logic, Inc.,
     Case No. 6:12-CV-366 MHS-JDL, 2013 WL 8482270 (E.D. Tex. Mar. 6,
     2013) ........................................................................................................................................13




  Motion to Dismiss                                                     - iii-
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 4 of 19 PageID #: 705




  Other Authorities

  https://en.wikipedia.org/wiki/QR_code .........................................................................................11

  Order (U.S. Apr. 29, 2015)
     http://www.supremecourt.gov/orders/courtorders/frcv15(update)_1823.pdf ...........................2




  Motion to Dismiss                                            - iv -
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 5 of 19 PageID #: 706




  I.     INTRODUCTION

         Plaintiff Symbology Innovation LLC’s (“Symbology’s”) Complaint for patent

  infringement against Defendant KaiJet Technology International Ltd. d/b/a j5create (“j5create”)

  should be dismissed because the complaint fails to allege that j5create does something that

  infringes its patents. J5create is accused of including a two-dimension barcode (i.e. “QR code”)

  on the packaging of one of its VGA adapter products. The VGA adapter itself is not accused of

  infringement, just the packaging. However, the claims of Plaintiff’s patents are drawn, not to a

  barcode or to packaging with a barcode, but to a software-implemented method for “capturing,”

  “detecting,” “decoding,” and otherwise processing these barcodes on an “electronic device,” such

  as a mobile phone, to display information about a product on that device. Symbology makes no

  allegation that j5create makes, uses, sells or offers to sell in the United States (or import into the

  U.S.) such software or an electronic device that includes such software. The reason is that j5create

  does not, and Symbology knows it.

         The most j5create could be accused of doing is somehow inducing or contributing to third

  parties’ capturing and processing QR codes on their own “electronic device[s].” The problem with

  that theory is that Symbology makes no allegation that j5create was even aware of the asserted

  patents, let alone had the requisite intent to induce or contribute to another’s infringement. Once

  again, the reason is that j5create had no such intent. Now that it is aware of the patents, even
  though printing QR codes on its packaging clearly does not infringe the asserted patents,1 j5create
  has stopped using the codes on its packaging altogether because the value of these codes is dubious


         1
             Nor could it infringe because QR codes—and even apps for processing those codes—
  predate the patents by several years, making this case all the more exceptional. See, e.g.,
  http://www.qrcode.com/en/history/ (“In 1994, DENSO WAVE (then a division of DENSO
  CORPORATION)             announced         the      release       of      its      QR        Code”);
  http://collectivelab.typepad.com/collectivelab/2008/10/android-mobile-retail-apps-shopsavvy-vs-
  compare-everywhere.html (apps for use in conjunction with QR codes to receive information about
  a product).


  Motion to Dismiss                                -1-
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 6 of 19 PageID #: 707




  at best and is far outweighed by the potential cost of this litigation. Symbology has no complaint

  against j5create, and it knows it.

         Symbology is well aware of all these facts but has steadfastly refused to voluntarily dismiss

  j5create from this case. As a result, j5create is forced to move the Court to dismiss Symbology’s

  Complaint under Rule 12(b)(6) because it is legally and factually deficient. While j5create is

  aware that such motions are “viewed with disfavor and rarely granted,” Lodsys, LLC v. Brother

  International Corporation, 2012 WL 760729, at *1 (E.D. Tex. Mar. 8, 2012), absent an early
  dismissal j5create will be forced into the Hobson’s choice of settling with the Plaintiff or

  expending considerable resources litigating the scope and validity of patents that it does not

  infringe as a matter of law, in hopes of eventually recovering its attorneys’ fees under 35 U.S.C. §

  285. To avoid this dilemma, Defendant respectfully requests that its motion to dismiss be granted.

         To the extent that Symbology seeks to file an amended complaint, it should be ordered to

  plead all of its claims with the specificity required by the Supreme Court’s Iqbal/Twombly

  standard. Even though its original complaint was filed one week before the new Federal Rules

  went into effect, Symbology should at least be put to this level of investment given the level of

  expense required of j5create to defend itself. See Order (U.S. Apr. 29, 2015) (“the foregoing

  amendments … shall take effect on December 1, 2015, and shall govern in all proceedings in civil

  cases thereafter commenced, and, insofar as just and practicable, all proceedings then

  pending.”), available at http://www.supremecourt.gov/orders/courtorders/frcv15(update)_1823.pdf.
  II.    SYMBOLOGY’S PATENTS RECITE SOFTWARE, NOT PACKAGING
         A.      The Specification Describes Software, Not Packaging

         All three of the asserted patents in this case—U.S. Pat. Nos. 8,424,752 (“the ’752 patent”),

  8,651,369 (“the ’369 patent”), and 8,936,190 (“the ’190 patent”)—quite clearly, repeatedly, and

  explicitly require “capturing,” “detecting,” “decoding,” and processing “symbology,” e.g., a
  barcode, not the barcode itself or packaging containing a barcode. (Doc. No. 1-2, 1-3, 1-4.) In

  fact, a barcode is not even illustrated in the Symbology patents because capturing and decoding a




  Motion to Dismiss                              -2-
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 7 of 19 PageID #: 708




  barcode, even on a mobile device, was admittedly well known by 2010, when the original

  application was filed. (Doc. No. 1-2 at 3:50–55.)

         From top to bottom, the asserted patents focus on the software on the portable electronic

  device, not the barcode or the packaging itself. The asserted patents all stem from a common

  application and thus share the same specification. The common titles of the three patents reveal

  the true nature of the disclosure—“System and Method for Presenting Information about an Object

  on a Portable Electronic Device.” The field of the invention likewise focuses, both “generally”
  and “more particularly,” on the technology that “enables” processing of barcodes on “portable

  electronic devices” to display relevant information about a particular product on that same device,

  not the barcodes themselves. (Doc. No. 1-2 at 1:17–20.) The common Abstract provides a

  summary of the method according to “one embodiment” of this “enabling” technology for “a

  portable electronic device.” (Doc. No. 1-2 (Abstract); see also 1-3(Abstract) and 1-4 (Abstract).)

         The drawings further illustrate the software nature of the patents. Figure 1 is a top level

  drawing showing a cellular phone in relationship to a wireless communication network. (Doc. 1-

  2 at FIG. 1.) Figure 2 shows a front and back “view of the portable electronic device” that captures,

  detects, and decodes the barcode, as well as displays the information about the object associated

  with the barcode. (Id. at FIGS. 2A and 2B.) Figure 3 illustrates the “various modules included in

  the portable electronic device” including a “CAPTURE MODULE,” a “SCANNING MODULE,”

  and a “SYMBOLOGY MANAGEMENT MODULE.” (Id. at FIG. 3.) The portable electronic

  device of figure 2 communicates with a server that stores information associated with the barcode

  relating to various objects. A block diagram of that server is shown in figure 4 and includes an

  “OBJECT IDENTIFYING MODULE,” a “DATABASE MANAGEMENT MODULE,” and an

  “INFORMATION RETRIEVING MODULE,” among others. (Id. at FIG. 4.) Figure 5 illustrates

  some of the software “applications” that are stored in the “storage module 66” on the portable
  electronic device. (Id. at FIG. 5; 11:1–6.) Figure 6 illustrates a “flow diagram” of the steps

  performed by the software on the server of figure 4, while figure 7 shows the “method that may be




  Motion to Dismiss                               -3-
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 8 of 19 PageID #: 709




  performed by a portable electronic device.” (Id. at FIGS. 6-7; 11:50–52; 11:66–12:2.) In contrast,

  there is not a single picture of a QR code or any other form of barcode.
         B.       The Claims Recite Software, Not Packaging

         All of the claims in the asserted patents require, in one way or another, software executable

  on an electronic device such as a mobile phone. Both the ’752 and ’369 patents include 28 claims,

  of which three are independent claims (1, 17, and 24). (Doc. No. 1-2 at 13:39–16:51; see also 1-

  3 at 13:48–16:55.) The ’190 patent only includes 20 claims, but also includes three independent

  claims (1, 17, and 20). (Doc. No. 1-4 at 13:56–16:31.)

         The three independent claims in each patent largely mirror each other. As a result, all of

  the claims in the three patents can be grouped into three sets:

         (1) “method” claims (i.e., ’752 and ’369 patents, cls. 1–16; ’190 patent, cls. 1–16);

         (2) “computer application stored on a computer-readable medium” claims (i.e., ’752 and

              ’369 patents, cls. 17–23; ’190 patent, cls. 17–19); and

         (3) “symbology management application” claims (i.e., ’752 and ’369 patents, cls. 24–28;

              ’190 patent, cl. 20).

  As described further below, these claims are limited to the technology that enables the capture,

  detecting, decoding, and processing of barcodes to display information relating to an object. The

  claims do not cover making, using, selling or offering to sell a product with an associated barcode

  on the packaging, as j5create is accused of doing.
                  1.      Method Claims Recite Steps Performed on an Electronic Device

         The first sets of claims are method claims. These claims make up the majority (i.e., 48 out

  of 76) of the total claims of the asserted patents. (Doc. No. 1-2 (cls. 1–16); No. 1-3 (cls. 1–16)

  and No. 1-4 (cls. 1–16).) All of the method claims recite steps that are performed on an “electronic

  device” including, for example, “capturing a digital image,” “detecting symbology associated with

  the digital image,” and “decoding the symbology … using one or more visual detection
  applications residing on the [portable] electronic device,” as shown below:




  Motion to Dismiss                               -4-
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 9 of 19 PageID #: 710




       U.S. Pat. No. 8,424,752         U.S. Pat. No. 8,651,369         U.S. Pat. No. 8,936,190
    “1. A method comprising:        “1. A method comprising:        “1. A method comprising:
    capturing a digital image       capturing a digital image       capturing a digital image
    using a digital image           using a digital image           using a digital image
    capturing device that is part   capturing device that is part   capturing device that is part
    of a portable electronic        of a portable electronic        of an electronic device;
    device;                         device;
    detecting symbology             detecting symbology             detecting symbology
    associated with an object       associated with the digital     associated with the digital
    within the digital image        image using a portable          image using the electronic
    using a portable electronic     electronic device;              device;
    device;
    decoding the symbology to       decoding the symbology to       decoding the symbology to
    obtain a decode string          obtain a decode string          obtain a decode string
    using one or more visual        using one or more visual        using one or more visual
    detection applications          detection applications          detection applications
    residing on the portable        residing on the portable        residing on the electronic
    electronic device;              electronic device;              device;
    sending the decode string to a sending the decode string to a sending the decode string to a
    remote server for processing;   remote server for processing;   remote server for processing;
    receiving information about     receiving information about     receiving information about
    the object from the remote      the digital image from the      the digital image from the
    server wherein the              remote server wherein the       remote server wherein the
    information is based on the     information is based on the     information is based on the
    decode string of the object;    decode string;                  decode string;
    displaying the information      displaying the information      displaying the information
    on a display device             on a display device             on a display device
    associated with the portable associated with the portable associated with the
    electronic device.”             electronic device.”             electronic device.”
    (Doc. No. 1-2 at cl. 1          (Doc. No. 1-3 at cl. 1          (Doc. No. 1-4 at cl. 1
    (emphasis added))               (emphasis added))               (emphasis added))



  Motion to Dismiss                             -5-
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 10 of 19 PageID #: 711




   Thus, all of the method claims require “using a portable electronic device” for, among other things,

   capturing an image of the barcode, detecting symbology embedded in the image, and decoding the

   symbology. As discussed in the next section, Symbology alleges that these steps are performed,

   not by j5create or the accused product, but by a “user” of an electronic device that captures an

   image of the QR code on the packaging of the j5create product. (See, e.g., Doc. No. 1 at ¶¶13–

   14.) As discussed further below, however, that is not an act of direct infringement by j5create and

   it lacked the requisite intent (among other things) to indirectly infringe.
                   2.     Computer-Readable Medium Claims Recite Software

          The patents also include a second set of “computer-readable medium” claims to the

   software “logic” to implement the corresponding method claims. This set includes claims 17–23

   of the ’752 and ’369 patents as well as 17–19 of the ’190 patent. These claims recite, for example,

   “logic adapted to capture a digital image using a digital image capturing device that is part of [an]
   electronic device” and “logic adapted to detect symbology,” as shown below:

       U.S. Pat. No. 8,424,752           U.S. Pat. No. 8,651,369          U.S. Pat. No. 8,936,190
     “17. A computer                   “17. A computer                  “17. A computer
     application stored on a           application stored on a          application stored on a
     computer-readable medium computer-readable medium computer-readable medium
     and executable by a               and executable by a              and executable by a
     processing device                 processing device                processing device
     incorporated in a portable        incorporated in a portable       incorporated in an
     electronic device, the            device, the computer             electronic device, the
     computer application              application comprising:          computer application
     comprising:                                                        comprising:
     logic adapted to capture a        logic adapted to capture a       logic adapted to capture a
     digital image using a digital     digital image using a digital    digital image using a digital
     image capturing device that image capturing device that image capturing device that
     is part of a portable             is part of a portable            is part of the electronic
     electronic device;                electronic device;               device;




   Motion to Dismiss                                -6-
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 11 of 19 PageID #: 712




        U.S. Pat. No. 8,424,752          U.S. Pat. No. 8,651,369          U.S. Pat. No. 8,936,190
     logic adapted to detect          logic adapted to detect          logic adapted to detect
     symbology associated with        symbology associated with        symbology associated with
     an object using one or more      an object using one or more      an object using one or more
     visual detection applications;   visual detection applications;   visual detection applications;
     logic adapted to decode the      logic adapted to decode the      logic adapted to decode the
     symbology to obtain a            symbology to obtain a            symbology to obtain a
     decode string using the one      decode string using the one      decode string using the one
     or more visual detection         or more visual detection         or more visual detection
     applications;                    applications;                    applications;
     logic adapted to send the        logic adapted to send the        logic adapted to send the
     decode string to a remote        decode string to a remote        decode string to a remote
     server for processing;           server for processing;           server for processing;
     logic adapted to receive a       logic adapted to receive a       logic adapted to receive a
     second amount of                 second amount of                 second amount of
     information about the object     information about the object     information about the object
     based on the decode string       based on the decode string       based on the decode string
     from the remote server;          from the remote server;          from the remote server;
     logic adapted to display the     logic adapted to display the     logic adapted to display the
     information on a display         information on a display         information on a display
     device associated with the       device associated with the       device associated with the
     portable electronic device.”     portable electronic device.”     electronic device.”
     (Doc. No. 1-2 at cl. 17          (Doc. No. 1-3 at cl. 17          (Doc. No. 1-4 at cl. 17
     (emphasis added))                (emphasis added))                (emphasis added))

   These “logic” claims are the software analog of the corresponding method claims. The software

   elements of the claims are “executable by a processing device incorporated in a [portable]

   electronic device.” Once again, j5create is not accused of making, using or selling such software

   or even an “electronic device” having such software. Instead, j5create is accused of selling a VGA

   adapter that has a barcode on its packaging that may be captured by a third parties’ device that




   Motion to Dismiss                              -7-
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 12 of 19 PageID #: 713




   purported includes this software. However, that is neither an act of direct nor indirect infringement

   by j5create.
                   3.     “Symbology Management Application” Claims Recite Software

          Finally, the three patents include a third set of claims drawn on a “symbology management

   application.” This set includes claims 24–28 of the ’752 and ’369 patents as well as claim 20 of

   the ’190 patent. As shown below, these claims recite a series of “module[s]” that perform many of

   the method steps recited above, e.g., “detecting,” “decoding,” etc. At the end of the process, “a

   decode string” is sent to “one or more visual applications for processing,” which reside on “an

   electronic device,” i.e., “a mobile device.” 2

       U.S. Pat. No. 8,424,752           U.S. Pat. No. 8,651,369         U.S. Pat. No. 8,936,190
     “24. A symbology                  “24. A symbology                “20. A symbology
     management application            management application          management application
     comprising:                       comprising:                     comprising:
     receiving a digital image         receiving a digital image       receiving a digital image
     from a digital image              from a digital image            from a digital image
     capturing device;                 capturing device;               capturing device;
     a symbology detecting             a symbology detecting           a symbology detecting
     module configured to detect       module configured to detect     module configured to detect
     symbology associated with         symbology associated with       symbology associated with
     an object;                        an object;                      an object;




          2
              These claims also appear to be indefinite because they recite both a method step (i.e.,

   “receiving a digital image”) and apparatus elements (e.g., “a symbology detecting module”). See

   IPXL Holdings, L.L.C. v. Amazon.com, Inc., 430 F.3d 1377, 1384 (Fed. Cir. 2005) (a single claim

   which claims “both an apparatus and a method of using that apparatus renders a claim indefinite

   under [35 U.S.C.] section 112, paragraph 2.”) However, it is unnecessary to resolve this issue in

   this motion.


   Motion to Dismiss                                 -8-
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 13 of 19 PageID #: 714




        U.S. Pat. No. 8,424,752          U.S. Pat. No. 8,651,369          U.S. Pat. No. 8,936,190
     a decoding module                a decoding module                a decoding module
     configured to decode the         configured to decode the         configured to decode the
     symbology to obtain a            symbology to obtain a            symbology to obtain a
     decode string;                   decode string;                   decode string;
     a transferring module            a transferring module            a transferring module
     configured to send the           configured to send the           configured to send the
     decode string to one or more decode string to one or more decode string to one or more
     visual detection applications    visual detection applications    visual detection applications
     for processing, the one or       for processing, the one or       for processing, the one or
     more visual detection            more visual detection            more visual detection
     applications residing on a       applications residing on a       applications residing on an
     mobile device; and               mobile device; and               electronic device; and
     an information storage           an information storage           an information storage
     module configured to             module configured to             module configured to
     receive information about the    receive information about the    receive information about the
     object from the remote           object from the remote           object from the remote
     server, and provide the          server, and provide the          server, and provide the
     information to a display         information to a display         information to a display
     device for display of the        device for display of the        device for display of the
     information.”                    information.”                    information.”
     (Doc. No. 1-2 at cl. 24          (Doc. No. 1-3 at cl. 24          (Doc. No. 1-4 at cl. 20
     (emphasis added))                (emphasis added))                (emphasis added))

          As shown above, none of the independent claims in any of the three asserted patents recite

   a QR code alone or in combination with packaging. Instead, they all relate to a method for

   capturing, detecting, decoding, and processing the symbology or the software to do the same, as

   indicated by the Title, the Field of the Invention, the Abstract, the drawings, the detailed

   description, and, of course, the claims themselves. However, j5create is not in the business of

   making, using, selling, offering for sale in the United States, or importing into the United States,

   such software or devices having such software.          As explained further below, Symbology


   Motion to Dismiss                              -9-
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 14 of 19 PageID #: 715




   effectively concedes as much in its Complaint. As a result, the Complaint should be dismissed

   because it fails to allege sufficient facts to support a claim of infringement against j5create.
   III.   SYMBOLOGY FAILED TO ALLEGE SUFFICIENT FACTS SUPPORTING A
          CLAIM OF DIRECT INFRINGEMENT

          Symbology’s complaint includes three counts—one for each of the asserted patents.

   Symbology makes the same conclusory infringement allegations against j5create for all three

   patents:
           13. Upon information and belief, Defendant has infringed and continues to
          infringe one or more claims, including at least Claim 1, of the ’752 Patent by
          making, using, and/or printing Quick Response Codes (QR codes) covered by one
          or more claims of the ’752 Patent. Defendant has infringed and continues to
          infringe the ’752 Patent either directly or through acts of contributory infringement
          or inducement in violation of 35 U.S.C. § 271.

   (Doc. No. 1 at ¶13 (Count I) (emphasis added); see also id. at ¶23 (Count II) and ¶33 (Count III).)

   This allegation is legally and factually deficient to support a claim of direct infringement.

          Claim 1 is a method claim. In order for j5create to infringe these method claims, it must

   practice the claimed method. See Joy Techs., Inc. v. Flakt, Inc., 6 F.3d 770, 773 (Fed. Cir. 1993)

   (“a method or process claim is directly infringed only when the process is performed.”); See BMC

   Res., Inc. v. Paymentech, L.P., 498 F.3d 1373, 1379–81 (Fed. Cir. 2007) (all elements must be
   attributable to a single actor). Symbology makes no allegation that j5create performs the claimed

   method. Instead, it alleges that j5create performs a step NOT required by the claims—“making,

   using, and/or printing Quick Response Codes (QR codes).” Even now defunct Form 18 required

   the Plaintiff to allege that the thing that allegedly infringes (i.e., “electric motors”) was the thing

   patented (i.e., “electric motor”). See McZeal v. Sprint Nextel Corp., 501 F.3d 1354, 1356–57

   (Fed.Cir.2007). Symbology’s allegation of direct infringement does not even do that.

          The only other factual allegation made by Symbology also is insufficient to support a claim

   of direct infringement. Symbology makes the following wholly conclusory, unsubstantiated
   allegation on “information and belief”:


   Motion to Dismiss                               - 10 -
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 15 of 19 PageID #: 716




          14. On information and belief, Defendant has, at least through internal testing,
          made, used, and/or printed QR codes on printed and/or electronic media,
          including advertising and packaging, associated with select products and/or
          services. One specific example of Defendant’s activity involves the use of QR
          codes on packaging associated with its VGA & Gigabit Ethernet USB 3.0 Multi-
          Adapter product. A user scanning the QR Code is provided with information about
          the product including, for example, information regarding where and how to
          purchase the product. Upon being scanned, the QR code remotely transmits
          information regarding the product to the user via a device, such as a smart phone,
          for example. The use of QR codes in this manner infringes at least Claim 1 of the
          ’752 Patent.

   (Doc. No. 1 at ¶14 (Count I) (emphasis added); see also id. at ¶24 (Count II) and ¶34 (Count III).)

   Once again, Symbology alleges that j5create infringes claim 1 by making, using, and/or printing

   “QR codes on printed and/or electronic media . . . associated with select products,” namely “its

   VGA & Gigabit Ethernet USB 3.0 Multi-Adapter product.” However, as shown above, that is not

   what is claimed in claim 1.

          Symbology effectively concedes that j5create does NOT perform the claimed method.

   Instead, Symbology alleges that “[a] user” performs the step of “scanning the QR code.”

   Symbology makes no allegation that this step was performed by j5create or attributable to j5create.

   As a result, this too fails to state a claim of direct infringement by j5create. See Akamai Techs.,

   Inc. v. Limelight Networks, Inc., 797 F.3d 1020, 1022 (Fed. Cir. 2015) (en banc).

          Symbology’s allegation also is nonsensical. It alleges that “[u]pon being scanned, the QR

   code remotely transmits information regarding the product to the user.” A QR code is a “two-

   dimensional barcode.” See https://en.wikipedia.org/wiki/QR_code.        As a barcode, it has no
   intelligence or ability to transmit information. Only software that processes the code can do that

   and Symbology makes no allegation that j5create makes, uses, or sells such software. As such,

   Symbology’s infringement allegation is not “plausible on its face,” and should be disregarded. See




   Motion to Dismiss                             - 11 -
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 16 of 19 PageID #: 717




   Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007); see also Ashcroft v. Iqbal, 556 U.S.

   662, 679 (2009).

          Symbology makes no allegation that j5create directly infringes the other independent

   claims relating to the corresponding software. That is not surprising because j5create does not

   make, use or sell in the United States (or import into the U.S.) any such software. Moreover, any

   hardware or software on the user’s device, i.e., “smart phone,” that allegedly satisfies the elements

   of these claims was neither created by nor installed on the user’s device by j5create. As a result,
   the functionality on this device cannot be attributed to j5create. See Akamai, 797 F.3d at 1022.

          Because Symbology fails to allege sufficient facts, its claims of direct infringement under

   Counts I–III should be dismissed.
   IV.    SYMBOLOGY FAILED TO ALLEGE SUFFICIENT FACTS SUPPORTING A
          CLAIM OF CONTRIBUTORY INFRINGEMENT

          Symbology’s claims against j5create of indirect infringement are likewise deficient. “To

   state a claim for contributory infringement, therefore, a plaintiff must, among other things, plead

   facts that allow an inference that the components sold or offered for sale have no substantial non-

   infringing uses.” In re Bill of Lading Transmission & Processing Sys. Patent Litig., 681 F.3d 1323,

   1337 (Fed. Cir. 2012); Superior Indus., LLC v. Thor Global Enters. Ltd., 700 F.3d 1287, 1296

   (Fed. Cir. 2012). Additionally, a plaintiff must plead facts that support a reasonable inference that

   the accused components are “especially made or especially adapted for use in an infringement of

   such patent. . . .” See Superior Indus., 700 F.3d at 1295–96; Core Wireless Licensing S.A.R.L. v.

   Apple Inc., No. 6:14-CV-752-JRG-JDL, 2015 WL 4910427, at *5 (E.D. Tex. Aug. 14, 2015)

   (quoting Bill of Lading, 681 F.3d at 1337). Symbology alleges neither.

          Symbology states, without support, that “Defendant has infringed and continues to infringe

   [each of the patents-in-suit] either directly or indirectly through acts of contributory infringement

   . . . .” (Doc. No. 1, ¶¶ 13, 23, 33). As shown above, Symbology fails to allege facts that allow an

   inference that the components sold or offered for sale have no substantial non-infringing uses. In

   re Bill of Lading, 681 F.3d at 1337. The contributory infringement allegations are further deficient


   Motion to Dismiss                              - 12 -
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 17 of 19 PageID #: 718




   because Symbology does not even allege that any allegedly infringing component was especially

   made or especially adapted for infringement of the patents-in-suit let alone any facts that support

   an inference of the same. Superior Indus., 700 F.3d at 1295–96; Core Wireless, 2015 WL

   4910427, at *5. As a result, Symbology’s claims of contributory infringement should be dismissed.
   V.      SYMBOLOGY FAILED TO ALLEGE SUFFICIENT FACTS SUPPORTING A
           CLAIM OF INDUCED INFRINGEMENT

           To state a claim for induced infringement, a plaintiff must, among other things, plead facts

   that allow an inference that the defendant “specifically intended [its] customers to infringe the . . .

   patent and knew that the customer’s acts constituted infringement.” In re Bill of Lading, 681 F.3d

   at 1339. “It is well-established that ‘naked assertions devoid of further factual enhancement’ are

   insufficient to state a claim.” U.S. Ethernet Innovations, LLC v. Cirrus Logic, Inc., Case No. 6:12-

   CV-366 MHS-JDL, 2013 WL 8482270, at *4 (E.D. Tex. Mar. 6, 2013) (quoting Iqbal, 556 U.S.

   at 678).

           Symbology similarly states, without support, that “Defendant has infringed and continues

   to infringe [each of the patents-in-suit] either directly or indirectly through acts of . . . inducement

   . . . .” (Doc. No. 1, ¶¶ 13, 23, 33). Again, in violation of Bill of Lading, Symbology fails to plead

   facts that allow an inference that j5create specifically intended its customers to infringe the patents-

   in-suit and/or knew that its customer’s acts constituted infringement. (Id. at ¶ 14; see also id. at ¶¶

   24, 34.) Because Symbology alleges no facts about j5create’s knowledge or intent with regard to

   infringement by customers or other third parties, its claim of induced infringement should be

   dismissed. See Global-Tech Appliances, Inc. v. SEB S.A., 131 S.Ct. 2060, 2068 (2011) (“induced

   infringement under § 271(b) requires knowledge that the induced acts constitute patent

   infringement.”).

           To the extent that Symbology intends to rely on the Complaint as providing knowledge of

   the asserted patents that too must fail. First, the Complaint makes no allegation about subsequent

   knowledge of the patents as a basis for inferring intent. Second, upon service of the Complaint,

   j5create informed Symbology that it intended to remove QR codes from all of its packaging going


   Motion to Dismiss                                - 13 -
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 18 of 19 PageID #: 719




   forward. This subsequent remedial act is the antithesis of the type of intentional act necessary to

   encourage another to infringe upon the asserted patent. That should be the end of Symbology’s

   inducement claim against j5create.
   VI.    CONCLUSION

          As set forth above, Symbology has failed to plead sufficient facts that can legally support

   a claim of infringement by j5create, either direct or indirect. Accordingly, j5create respectfully

   requests dismissal of the Complaint in this case. To the extent that Symbology seeks to file an

   amended complaint, it should be ordered to plead its claims with the specificity required by the

   Supreme Court’s Iqbal/Twombly standard, even though its original complaint was filed one week

   before the new Federal Rules went into effect. Such a result would be “just and practicable.” See

   Order (U.S. Apr. 29, 2015).


   DATED: February 19, 2016.                                   Respectfully submitted,


                                                               /s/ Peter J. Ayers
                                                               Peter J. Ayers
                                                               Texas State Bar No. 24009882

                                                               LEE & HAYES, PLLC
                                                               11501 Alterra Parkway, Ste. 450
                                                               Austin, TX 78758
                                                               Telephone: 512-605-0252
                                                               Facsimile: 512-605-0269
                                                               peter@leehayes.com

                                                               Attorney for Defendant j5create




   Motion to Dismiss                             - 14 -
Case 2:15-cv-01169-RWS-RSP Document 106 Filed 02/19/16 Page 19 of 19 PageID #: 720




                                    CERTIFICATE OF SERVICE

          I hereby certify that all counsel of record who are deemed to have consented to electronic

   service are being served with a copy of this document via the Court’s CM/ECF system per Local

   Rule CV-5(a) on February 19, 2016. Any other counsel of record will be served by facsimile

   transmission and/or U.S. Mail.



                                                   /s/ Peter J. Ayers
                                                   Peter J. Ayers




   Motion to Dismiss                            - 15 -
